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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 14–43–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 NICHOLAS CLINTON HOLT,

                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on January 30, 2015. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Nicholas Clinton Holt’s guilty


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plea after Holt appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of conspiracy to distribute

methamphetamine in violation of 21 U.S.C. § 846 (Count I) as set forth in the

Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

55), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Nicholas Clinton Holt’s motion to

change plea (Doc. 46) is GRANTED and Nicholas Clinton Holt is adjudged guilty

of Count I of the Indictment.

      DATED this 23rd day of February, 2015.




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